              Case 4:22-cv-06823-JST Document 270 Filed 07/31/24 Page 1 of 6



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16                                                          Fund SP GP I, L.L.C. and OpenAI Startup
     Counsel for Individual and Representative
     Plaintiffs and the Proposed Class                      Fund Management, LLC
17

18                                     UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
20                                          OAKLAND DIVISION

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22   J. DOE 1, et al.,                                     Case Nos.    4:22-cv-06823-JST
                                                                        4:22-cv-07074-JST
23           Individual and Representative Plaintiffs,
             v.                                            ORDER APPROVING
24
     GITHUB, INC., et al.,                                 JOINT REQUEST TO MODIFY BRIEFING
25                                                         SCHEDULE FOR PLAINTIFFS’ MOTION
                                           Defendants.     TO AMEND AND CERTIFY THE
26                                                         COURT’S JUNE 24, 2024 ORDER FOR
                                                           INTERLOCUTORY APPEAL PURSUANT
27                                                         TO 28 U.S.C. § 1292(b)

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     Lead Case No. 4:22-cv-06823-JST
                                JOINT REQUEST TO MODIFY BRIEFING SCHEDULE
                  Case 4:22-cv-06823-JST Document 270 Filed 07/31/24 Page 2 of 6




 1            Pursuant to Northern District of California Local Rule 6-1(b) and 6-2, the parties in the above-
 2   captioned action hereby jointly submit and move the Court for an order modifying the briefing schedule
 3   for Plaintiﬀs’ Motion to Amend and Certify the Court’s June 24, 2024 Order for Interlocutory Appeal
 4   Pursuant to 28 U.S.C. § 1292(b) (Dkt. No. 268) (“Motion”).        e parties stipulate, subject to approval of
 5   the Court, as follows:
 6       WHEREAS, on July 24, 2024, Plaintiﬀs filed their Motion noticing a hearing date of September 26,
 7   2024.
 8       WHEREAS, Defendants’ Opposition briefs are currently due August 7, 2024 and Plaintiﬀs’ Reply
 9   briefs are currently due August 14, 2024.
10       WHEREAS, the parties have met and conferred and agreed, subject to the Court’s approval, to extend
11   the time to file Opposition briefs and Reply briefs each by two weeks.
12       WHEREAS, this is the first requested modification regarding Plaintiﬀs’ Motion. Furthermore, this
13   request is not made in bad faith or to cause undue delay.
14       WHEREAS, the requested extensions do not impact the noticed hearing date or any other deadlines in
15   this case.
16       NOW THEREFORE, the parties, through their undersigned counsel, hereby stipulate and agree,
17   subject to the Court’s approval, to modify the briefing schedule as follows:
18       1.        Defendants’ Oppositions to the Motion shall be due on or before August 21, 2024.
19       2.        Plaintiﬀs’ Replies to Defendants’ Oppositions to the Motion shall be due on or before
20                 September 11, 2024.
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      Lead Case No. 4:22-cv-06823-JST                 1
                                    JOINT REQUEST TO MODIFY BRIEFING SCHEDULE
             Case 4:22-cv-06823-JST Document 270 Filed 07/31/24 Page 3 of 6




 1   Dated: July 29, 2024                        By:         /s/ Annette L. Hurst
                                                             Annette L. Hurst
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 8                                               Counsel for GitHub, Inc. and Microsoft Corporation

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10   Dated: July 29, 2024                        By:        /s/ Vera Ranieri
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                                                 Counsel for OpenAI, Inc.; OpenAI, L.P.; OpenAI
17                                               OpCo., LLC; OpenAI, L.L.C.; OpenAI GP, L.L.C.;
                                                 OpenAI Global, LLC; OAI Corporation; OpenAI
18                                               Holdings, LLC; OpenAI HoldCo, LLC; OpenAI Startup
                                                 Fund SPV I, L.L.P.; OpenAI Startup Fund GP I, L.L.C.;
19                                               OpenAI Startup Fund I, L.P.; OpenAI Startup Fund SP
                                                 GP I, L.L.C. and OpenAI Startup Fund Management,
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                                                 LLC
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      Lead Case No. 4:22-cv-06823-JST                2
                                    JOINT REQUEST TO MODIFY BRIEFING SCHEDULE
             Case 4:22-cv-06823-JST Document 270 Filed 07/31/24 Page 4 of 6




 1   Dated: July 29, 2024                        By:         /s/ Joseph R. Saveri
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 2
                                                 Joseph R. Saveri (State Bar No. 130064)
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                                                 Cadio Zirpoli (State Bar No. 179108)
 4                                               Christopher K.L. Young (State Bar No. 318371)
                                                 Louis A. Kessler (State Bar No. 243703)
 5                                               Elissa A. Buchanan (State Bar No. 249996)
                                                 William W. Castillo Guardado (State Bar No. 294159)
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14
                                                 Counsel for Plaintiﬀs and the Proposed Class
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      Lead Case No. 4:22-cv-06823-JST                3
                                    JOINT REQUEST TO MODIFY BRIEFING SCHEDULE
              Case 4:22-cv-06823-JST Document 270 Filed 07/31/24 Page 5 of 6




 1                                        SIGNATURE ATTESTATION

 2          Pursuant to Local Rule 5-1(h)(3), I attest under penalty of perjury that concurrence in the filing of

 3   this document has been obtained from any other signatory to this document.

 4

 5   Dated: July 29, 2024                            By:          /s/ Annette L. Hurst
                                                                   Annette L. Hurst
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      Lead Case No. 4:22-cv-06823-JST                4
                                    JOINT REQUEST TO MODIFY BRIEFING SCHEDULE
              Case 4:22-cv-06823-JST Document 270 Filed 07/31/24 Page 6 of 6




 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2          The briefing schedule for Plaintiffs’ Motion to Amend and Certify the Court’s June 24, 2024 Order

 3   for Interlocutory Appeal Pursuant to 28 U.S.C. § 1292(b) is extended as agreed to by the parties.

 4   Defendants’ Oppositions to the Motion shall be due on or before August 21, 2024. Plaintiﬀs’ Replies to

 5   Defendants’ Oppositions to the Motion shall be due on or before September 11, 2024.

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                 31
 9   Dated: July 29, 2024                            By:
                                                            HON. JON S. TIGAR
10                                                          UNITED STATES DISTRICT JUDGE
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      Lead Case No. 4:22-cv-06823-JST                5
                                    JOINT REQUEST TO MODIFY BRIEFING SCHEDULE
